                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

LIZELLE GONZALEZ                               §
                                               §
Plaintiff                                      §
                                               §
Vs.                                            §       CIVIL ACTION 7:24-CV-00132
                                               §
GOCHA ALLEN RAMIREZ, et al.                    §
                                               §
Defendant                                      §

                 PROPOSED AGREED CONFIDENTIALITY ORDER
                  FOR DOCUMENTS SUBMITTED UNDER SEAL
     =================================================================

        WHEREAS given the status of the Parties in this lawsuit, the nature of the claims, and the
highly confidential nature of certain relevant documents, including but not limited to a Sheriff’s
Office investigative file, materials presented to a Grand Jury, and other documentation pertaining to
the criminal justice system, and
        WHEREAS Counsel for the respective Parties agree that documents from the Sheriff’s Office
investigative file contain highly personal, private, data and information, including what would
otherwise be protected medical information; and,
        WHEREAS Defendants in this cause have good cause to request that any documents from
the Sheriff’s Office should be submitted to the Court under Seal, but which in the interests of justice
should be made available to Counsel for Plaintiff;
        NOW THEREFORE, the Parties agree to the following proposed Protective Order as follows:
1.      That the initial set of documents to be filed under sealed shall be seven documents consisting
of 1) an incident report, 2) three investigative reports; 3) three grand jury subpoenas; and 4) one
Brady sheet.
2.      The documents shall be marked as “SEALED DOCUMENT #1 through SEALED
DOCUMENT #7
3.      Except as otherwise provided in this Order or subsequent court rulings, documents
designated as “SEALED DOCUMENT # ___: shall not be disclosed or shown to anyone other
than:



Proposed Agreed Confidentiality Order                                                      -1-
       a.      Counsel of Record for the respective parties;
       b.      Legal support staff of the respective Counsel of Record for the purpose of assisting
       in the preparation of documents and filing pertaining to this action;
       c.      The Court or persons employed by the Court;
4..    Any modification or expansion to the inventory of Sealed Documents shall be submitted
to the Court for approval and as a modification of this original protective order.
       SO ORDERED.
       SIGNED this _________ day of _____________________, 2024.


                                             _________________________
                                             HON. DREW TIPTON
                                             U.S. DISTRICT COURT


       AGREED & APPROVED:


       __________________________
       Ricardo J. Navarro
       Kelly R. Albin
       DENTON NAVARRO RODRIGUEZ
         BERNAL SANTEE & ZECH, P.C.
       549 N. Egret Bay, Suite 200
       League City, Texas 77573
       COUNSEL FOR DEFENDANTS



       _________________________
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       202 E. Sprague Street
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       COUNSEL FOR PLAINTIFFS




Proposed Agreed Confidentiality Order                                                   -2-
